                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KENNETH FITCH, et al.,

                                                          Civil Action No.: 18-CV-02817-PJM
       Plaintiffs,


       v.


STATE OF MARYLAND, et al.,
       Defendants.



 MOVANTS’ MOTION TO INTERVENE AND OBJECTION TO THE APPOINTMENT
  OF DEBORAH HOLLOWAY HILL AS SOLE CLASS COUNSEL AND KENNETH
              FITCH AS SOLE CLASS REPRESENTATIVE

       The Movants, William A. Kahn, M. Catherine Orleman, Ann L. Heslin, Peta N. Richkus,

Dana A. Reed, Larry W. Tolliver, Sheila M. Tolliver, William H. Kirk, Dawna M. Cobb, Edward

S. Harris, Edward Robert Kemery II, Gerald Langbaum, Julia P. Davis, Laurence Levitan, and

Thomas L. Osborne, Sr., by their undersigned attorneys, Melehy & Associates LLC, respectfully

move this Court for leave to intervene as of right in this action pursuant to Fed. R. Civ. P. 24(a)(2)

or, in the alternative, for permissive intervention pursuant to Fed. R. Civ. P. 24(b), for the limited

purpose of objecting to the appointment of Deborah Holloway Hill as sole class counsel and

Kenneth Fitch as the sole class representative. In support of their Motion and Objection, the

Movants rely on the attached Memorandum.

       The Movants seek the following relief: (1) that the Court postpone any decision on class

certification and the appointment of class counsel and class representatives until the Movants have

had the opportunity to present proposed alternatives to the Court; (2) that the Court enter an order

allowing Movants 60 days to identify candidates to potentially fill the role of class counsel; and
(3) once Movants identify potential class counsel who is willing to assume representation, that the

Court appoints that counsel to represent the class.

       The Movants may also propose new or additional class representatives so that all of the

identified subclasses are adequately represented, and may potentially urge the Court to modify the

class presently proposed by Ms. Hill.


Dated: June 27, 2019                          Respectfully submitted,



                                              /s/ Omar Vincent Melehy
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